Case 1:23-cv-05312-EK-PK   Document 7   Filed 03/07/24   Page 1 of 214 PageID #: 192
Case 1:23-cv-05312-EK-PK   Document 7   Filed 03/07/24   Page 2 of 214 PageID #: 193
Case 1:23-cv-05312-EK-PK   Document 7   Filed 03/07/24   Page 3 of 214 PageID #: 194
Case 1:23-cv-05312-EK-PK   Document 7   Filed 03/07/24   Page 4 of 214 PageID #: 195
Case 1:23-cv-05312-EK-PK   Document 7   Filed 03/07/24   Page 5 of 214 PageID #: 196
Case 1:23-cv-05312-EK-PK   Document 7   Filed 03/07/24   Page 6 of 214 PageID #: 197
Case 1:23-cv-05312-EK-PK   Document 7   Filed 03/07/24   Page 7 of 214 PageID #: 198
Case 1:23-cv-05312-EK-PK   Document 7   Filed 03/07/24   Page 8 of 214 PageID #: 199
Case 1:23-cv-05312-EK-PK   Document 7   Filed 03/07/24   Page 9 of 214 PageID #: 200
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 10 of 214 PageID #:
                                     201
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 11 of 214 PageID #:
                                     202
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 12 of 214 PageID #:
                                     203
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 13 of 214 PageID #:
                                     204
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 14 of 214 PageID #:
                                     205
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 15 of 214 PageID #:
                                     206
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 16 of 214 PageID #:
                                     207
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 17 of 214 PageID #:
                                     208
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 18 of 214 PageID #:
                                     209
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 19 of 214 PageID #:
                                     210
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 20 of 214 PageID #:
                                     211
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 21 of 214 PageID #:
                                     212
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 22 of 214 PageID #:
                                     213
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 23 of 214 PageID #:
                                     214
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 24 of 214 PageID #:
                                     215
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 25 of 214 PageID #:
                                     216
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 26 of 214 PageID #:
                                     217
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 27 of 214 PageID #:
                                     218
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 28 of 214 PageID #:
                                     219
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 29 of 214 PageID #:
                                     220
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 30 of 214 PageID #:
                                     221
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 31 of 214 PageID #:
                                     222
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 32 of 214 PageID #:
                                     223
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 33 of 214 PageID #:
                                     224
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 34 of 214 PageID #:
                                     225
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 35 of 214 PageID #:
                                     226
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 36 of 214 PageID #:
                                     227
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 37 of 214 PageID #:
                                     228
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 38 of 214 PageID #:
                                     229
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 39 of 214 PageID #:
                                     230
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 40 of 214 PageID #:
                                     231
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 41 of 214 PageID #:
                                     232
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 42 of 214 PageID #:
                                     233
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 43 of 214 PageID #:
                                     234
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 44 of 214 PageID #:
                                     235
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 45 of 214 PageID #:
                                     236
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 46 of 214 PageID #:
                                     237
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 47 of 214 PageID #:
                                     238
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 48 of 214 PageID #:
                                     239
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 49 of 214 PageID #:
                                     240
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 50 of 214 PageID #:
                                     241
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 51 of 214 PageID #:
                                     242
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 52 of 214 PageID #:
                                     243
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 53 of 214 PageID #:
                                     244
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 54 of 214 PageID #:
                                     245
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 55 of 214 PageID #:
                                     246
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 56 of 214 PageID #:
                                     247
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 57 of 214 PageID #:
                                     248
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 58 of 214 PageID #:
                                     249
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 59 of 214 PageID #:
                                     250
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 60 of 214 PageID #:
                                     251
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 61 of 214 PageID #:
                                     252
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 62 of 214 PageID #:
                                     253
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 63 of 214 PageID #:
                                     254
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 64 of 214 PageID #:
                                     255
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 65 of 214 PageID #:
                                     256
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 66 of 214 PageID #:
                                     257
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 67 of 214 PageID #:
                                     258
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 68 of 214 PageID #:
                                     259
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 69 of 214 PageID #:
                                     260
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 70 of 214 PageID #:
                                     261
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 71 of 214 PageID #:
                                     262
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 72 of 214 PageID #:
                                     263
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 73 of 214 PageID #:
                                     264
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 74 of 214 PageID #:
                                     265
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 75 of 214 PageID #:
                                     266
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 76 of 214 PageID #:
                                     267
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 77 of 214 PageID #:
                                     268
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 78 of 214 PageID #:
                                     269
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 79 of 214 PageID #:
                                     270
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 80 of 214 PageID #:
                                     271
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 81 of 214 PageID #:
                                     272
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 82 of 214 PageID #:
                                     273
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 83 of 214 PageID #:
                                     274
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 84 of 214 PageID #:
                                     275
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 85 of 214 PageID #:
                                     276
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 86 of 214 PageID #:
                                     277
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 87 of 214 PageID #:
                                     278
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 88 of 214 PageID #:
                                     279
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 89 of 214 PageID #:
                                     280
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 90 of 214 PageID #:
                                     281
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 91 of 214 PageID #:
                                     282
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 92 of 214 PageID #:
                                     283
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 93 of 214 PageID #:
                                     284
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 94 of 214 PageID #:
                                     285
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 95 of 214 PageID #:
                                     286
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 96 of 214 PageID #:
                                     287
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 97 of 214 PageID #:
                                     288
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 98 of 214 PageID #:
                                     289
Case 1:23-cv-05312-EK-PK   Document 7 Filed 03/07/24   Page 99 of 214 PageID #:
                                     290
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 100 of 214 PageID #:
                                        291
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 101 of 214 PageID #:
                                        292
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 102 of 214 PageID #:
                                        293
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 103 of 214 PageID #:
                                        294
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 104 of 214 PageID #:
                                        295
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 105 of 214 PageID #:
                                        296
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 106 of 214 PageID #:
                                        297
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 107 of 214 PageID #:
                                        298
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 108 of 214 PageID #:
                                        299
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 109 of 214 PageID #:
                                        300
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 110 of 214 PageID #:
                                        301
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 111 of 214 PageID #:
                                        302
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 112 of 214 PageID #:
                                        303
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 113 of 214 PageID #:
                                        304
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 114 of 214 PageID #:
                                        305
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 115 of 214 PageID #:
                                        306
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 116 of 214 PageID #:
                                        307
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 117 of 214 PageID #:
                                        308
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 118 of 214 PageID #:
                                        309
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 119 of 214 PageID #:
                                        310
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 120 of 214 PageID #:
                                        311
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 121 of 214 PageID #:
                                        312
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 122 of 214 PageID #:
                                        313
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 123 of 214 PageID #:
                                        314
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 124 of 214 PageID #:
                                        315
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 125 of 214 PageID #:
                                        316
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 126 of 214 PageID #:
                                        317
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 127 of 214 PageID #:
                                        318
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 128 of 214 PageID #:
                                        319
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 129 of 214 PageID #:
                                        320
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 130 of 214 PageID #:
                                        321
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 131 of 214 PageID #:
                                        322
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 132 of 214 PageID #:
                                        323
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 133 of 214 PageID #:
                                        324
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 134 of 214 PageID #:
                                        325
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 135 of 214 PageID #:
                                        326
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 136 of 214 PageID #:
                                        327
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 137 of 214 PageID #:
                                        328
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 138 of 214 PageID #:
                                        329
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 139 of 214 PageID #:
                                        330
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 140 of 214 PageID #:
                                        331
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 141 of 214 PageID #:
                                        332
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 142 of 214 PageID #:
                                        333
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 143 of 214 PageID #:
                                        334
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 144 of 214 PageID #:
                                        335
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 145 of 214 PageID #:
                                        336
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 146 of 214 PageID #:
                                        337
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 147 of 214 PageID #:
                                        338
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 148 of 214 PageID #:
                                        339
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 149 of 214 PageID #:
                                        340
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 150 of 214 PageID #:
                                        341
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 151 of 214 PageID #:
                                        342
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 152 of 214 PageID #:
                                        343
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 153 of 214 PageID #:
                                        344
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 154 of 214 PageID #:
                                        345
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 155 of 214 PageID #:
                                        346
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 156 of 214 PageID #:
                                        347
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 157 of 214 PageID #:
                                        348
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 158 of 214 PageID #:
                                        349
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 159 of 214 PageID #:
                                        350
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 160 of 214 PageID #:
                                        351
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 161 of 214 PageID #:
                                        352
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 162 of 214 PageID #:
                                        353
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 163 of 214 PageID #:
                                        354
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 164 of 214 PageID #:
                                        355
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 165 of 214 PageID #:
                                        356
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 166 of 214 PageID #:
                                        357
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 167 of 214 PageID #:
                                        358
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 168 of 214 PageID #:
                                        359
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 169 of 214 PageID #:
                                        360
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 170 of 214 PageID #:
                                        361
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 171 of 214 PageID #:
                                        362
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 172 of 214 PageID #:
                                        363
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 173 of 214 PageID #:
                                        364
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 174 of 214 PageID #:
                                        365
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 175 of 214 PageID #:
                                        366
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 176 of 214 PageID #:
                                        367
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 177 of 214 PageID #:
                                        368
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 178 of 214 PageID #:
                                        369
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 179 of 214 PageID #:
                                        370
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 180 of 214 PageID #:
                                        371
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 181 of 214 PageID #:
                                        372
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 182 of 214 PageID #:
                                        373
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 183 of 214 PageID #:
                                        374
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 184 of 214 PageID #:
                                        375
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 185 of 214 PageID #:
                                        376
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 186 of 214 PageID #:
                                        377
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 187 of 214 PageID #:
                                        378
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 188 of 214 PageID #:
                                        379
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 189 of 214 PageID #:
                                        380
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 190 of 214 PageID #:
                                        381
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 191 of 214 PageID #:
                                        382
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 192 of 214 PageID #:
                                        383
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 193 of 214 PageID #:
                                        384
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 194 of 214 PageID #:
                                        385
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 195 of 214 PageID #:
                                        386
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 196 of 214 PageID #:
                                        387
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 197 of 214 PageID #:
                                        388
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 198 of 214 PageID #:
                                        389
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 199 of 214 PageID #:
                                        390
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 200 of 214 PageID #:
                                        391
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 201 of 214 PageID #:
                                        392
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 202 of 214 PageID #:
                                        393
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 203 of 214 PageID #:
                                        394
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 204 of 214 PageID #:
                                        395
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 205 of 214 PageID #:
                                        396
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 206 of 214 PageID #:
                                        397
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 207 of 214 PageID #:
                                        398
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 208 of 214 PageID #:
                                        399
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 209 of 214 PageID #:
                                        400
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 210 of 214 PageID #:
                                        401
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 211 of 214 PageID #:
                                        402
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 212 of 214 PageID #:
                                        403
Case 1:23-cv-05312-EK-PK   Document 7     Filed 03/07/24   Page 213 of 214 PageID #:
                                        404
             Case 1:23-cv-05312-EK-PK       Document 7     Filed 03/07/24       Page 214 of 214 PageID #:
                                                         405




                            i;i-;.v..v¥i;


                                                                            ;■ 7^,rfj^




p'At.'.C-r                                         M "-X ' /
